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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

LILIAN PAHOLA CALDERON JIMENEZ         )
AND LUIS GORDILLO, ET AL.,             )
individually and on behalf of all      )
others similarly situated,             )
                                       )
     Petitioners-Plaintiffs,           )
                                       )
          v.                           )     C.A. No. 18-10225-MLW
                                       )
CHAD WOLF, ET AL.,                     )
                                       )
     Respondents-Defendants.           )

                                 ORDER

WOLF, D.J.                                                  April 16, 2020



     In view of the parties’ April 16, 2020 Status Report (Dkt.

No. 530), it is hereby ORDERED that:

     1.   The   Motion   to   Enjoin   the   Removal   of    Mr.   Salvador

Rodriguez-Aguasviva (Dkt. No. 466) is MOOT.

     2.   The stay of removal as to Rodriguez-Aguasviva is LIFTED.

See Dkt. No. 469.

     3.   The Order requiring that Rodriguez-Aguasviva not leave

his residence except for medical reasons (Dkt. No. 506) is LIFTED.
